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                           UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINIOIS
                                 EASTERN DIVISION

                                             )
LEONARD SOKOLOW, on Behalf of                )   Civil No. 1:18-cv-01039
Himself and All Others Similarly Situated,   )
                                             )
                             Plaintiff,      )
                                             )
       vs.                                   )
                                             )
LJM FUNDS MANAGEMENT, LTD., TWO              )
ROADS SHARED TRUST, NORTHERN                 )
LIGHTS DISTRIBUTORS, LLC, ANDREW             )
ROGERS, MARK GERTSEN, MARK                   )
GARBIN, NEIL KAUFMAN, ANITA                  )
KRUG, JAMES COLANTINO, ANISH                 )
PARVATANENI, and ANTHONY CAINE,              )
                                             )
                             Defendants.     )
                                             )

             LJM FUND INVESTOR GROUP’S MEMORANDUM OF LAW IN
             OPPOSITION TO COMPETING MOTIONS FOR APPOINTMENT
              AS LEAD PLAINTIFF AND APPROVAL OF LEAD COUNSEL
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       Lead Plaintiff movants MWH Investments, LLC, Personal CFO Solutions, LLC, John W.

Kapouch, and James Frugé (collectively, “LJM Fund Investor Group” or “Movant”), by and

through their undersigned counsel, respectfully submit this memorandum of law in opposition to

the competing motions for appointment as lead plaintiff and approval of selection of lead counsel

filed by: (1) Paragon National, LP (“Paragon”) (ECF No. 47); (2) Lynda Godkin (“Godkin”)

(ECF No. 52); (3) High Country Capital Management (“High Country”) (ECF No. 57);

(4) Tradition Capital Management LLC and SRS Capital Advisors, Inc. (the “Investment

Advisor Group”) (ECF No. 61); (5) Donn Glander, Charles Irvine, Gustav Swanson, and Pell,

LLC (the “Glander Group”) (ECF No. 67); and (6) Larry Cohen, Marilyn Cohen, Jenny

Kaufman, Justin Kaufman, and Joseph N. Wilson (the “Kaufman-Cohen Group”) (ECF No. 71). 1

This memorandum of law in opposition is filed concurrently with the supporting Declaration of

Thomas L. Laughlin, IV (“Laughlin Opp. Decl.”) and exhibit attached thereto.

                                 SUMMARY OF ARGUMENT

       Presently before the Court are seven competing motions for appointment as lead plaintiff

and approval of lead counsel. As demonstrated in its opening motion papers, LJM Fund Investor

Group, represented by Scott+Scott Attorneys at Law LLP (“Scott+Scott”), should be appointed

as Lead Plaintiff pursuant to the Private Securities Litigation Reform Act of 1995 (the

“PSLRA”), as amended, 15 U.S.C. §77z-1(a)(3), because it has the largest financial interest in

this case of any movant and otherwise satisfies the requirements of Rule 23 of the Federal Rules

of Civil Procedure (“Rule 23”). See ECF No. 75.


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        Movant’s motion (ECF No. 75) also requested consolidation of three related actions.
After the filing of Movant’s motion, the Court entered an order on April 11, 2018 consolidating
the cases as per an agreed motion to reassign and consolidate related cases filed by Defendant
Two Roads Shared Trust on March 22, 2018. See ECF Nos. 78 and 27, respectively. Thus,
Movant withdraws as moot its request for consolidation.



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       The PSLRA mandates that the Court appoint as lead plaintiff the movant with the largest

financial interest in the litigation, so long as that movant made a prima facie showing that it is an

adequate class representative under Rule 23. See 15 U.S.C. §77z-1(a)(3)(B)(iii)(I); see, e.g., City

of Sterling Heights Gen. Emps.’ Ret. Sys. v. Hospira, Inc., No. 11 C 8332, 2012 WL 1339678, at

*4 (N.D. Ill. Apr. 18, 2012). LJM Fund Investor Group has a loss of approximately $8.27

million, which is approximately $1.35 million larger than the next largest loss. LJM Fund

Investor Group also satisfies Rule 23.      Accordingly, LJM Fund Investor Group should be

appointed lead plaintiff, its chosen counsel should be appointed lead and liaison counsel, and the

competing motions should be denied.

                                          ARGUMENT

       A.      LJM Fund Investor Group Is the Presumptive Lead Plaintiff Because It Has
               the Largest Loss

       Under the PSLRA, the Court must select as lead plaintiff the movant with the largest

financial interest as long as that movant is otherwise adequate and typical within the meaning of

Rule 23. See 15 U.S.C. §77z-1(a)(3)(B)(iii)(I)(bb)-(cc). To determine financial interest, “most

courts simply determine which potential lead plaintiff has suffered the greatest total losses.”

Takara Tr. v. Molex Inc., 229 F.R.D. 577, 579 (N.D. Ill. 2005); see also Sterling Heights, 2012

WL 1339678, at *4. In this case, as reflected in the chart below, LJM Fund Investor Group, with

approximate losses of over $8.27 million, has the largest financial interest. All other movants

have losses well below those of LJM Fund Investor Group. Even the movant with the second-

largest loss, the Investment Advisor Group, suffered $1.35 million less in losses than LJM Fund

Investor Group:




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                                Movant                        Losses 2
                     LJM Fund Investor Group 3               8,270,160
                     Investment Advisor Group                6,923,382
                     Kaufman-Cohen Group                     1,700,285
                     High Country                            1,644,181
                     Paragon                                  825,473
                     Glander Group                            552,372
                     Godkin                                   188,353

       Moreover, LJM Fund Investor Group also has the largest financial interest as measured

by the other three factors that courts sometimes look to: (1) “the number of shares purchased”

during the class period; (2) “the number of net shares purchased” during the class period; and (3)

“the total net funds expended” during the class period. Lax v. First Merchs. Acceptance Corp.,

No. 97 C 2715, 1997 WL 461036, at *5 (N.D. Ill. Aug.11, 1997); see, e.g., Sterling Heights,

2012 WL 1339678, at *4. The following chart compares these three factors for LJM Fund

Investor Group and the movant with the second largest loss, the Investment Advisor Group:

                                 Total Class Period
                                                        Net CP Shares     Net CP Funds
               Movant             (“CP”) Shares
                                                         Purchased         Expended
                                    Purchased
        LJM Fund
                                      1,241,792           1,068,987         10,389,506
        Investment Group
        Investment Advisor
                                       842,821              17,367          6,953,854
        Group 4

       Accordingly, LJM Fund Investor Group is the presumptive lead plaintiff.




2
       Losses are rounded to the nearest whole number.
3
         The loss chart of LJM Fund Investor Group, showing all relevant transactions and loss
totals for each member, is annexed to the Laughlin Opp. Decl. as Exhibit A.
4
       The Total CP Shares Purchased and Net CP Funds Expended figures for the Investment
Advisor Group were taken from the Investment Advisor Group’s loss chart. See ECF No. 63-2
at 36. The Net CP Shares Purchased figure for the Investment Advisor Group was calculated
from the data in the Investment Advisor Group’s loss chart. Id.



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       B.      LJM Fund Investor Group Is Otherwise Adequate and Typical

       The presumption that the movant with the largest financial interest be appointed lead

plaintiff “may be rebutted if there is proof that the presumptively most adequate lead plaintiff

either will not fairly and adequately protect the class’s interests or is subject to some unique

defense that renders the lead plaintiff incapable of adequately representing the class.” Takara,

229 F.R.D. at 579; see also 15 U.S.C. §77z-1(a)(3)(B)(iii)(II). Thus, because LJM Fund Investor

Group has the largest financial interest in this case, it must be appointed as Lead Plaintiff unless

the Court is presented with proof (i.e., evidence) showing that it is not adequate or typical. Here,

no such proof or evidence exists.

       Rather, LJM Fund Investor Group is typical of the putative class in that, like all members

of the putative class, it purchased shares of the LJM Preservation and Growth Fund during the

class period, has claims that arise from the same misleading registration statement and suffered

economic injuries. See Bang v. Acura Pharms., Inc., No. 10 C 5757, 2011 WL 91099, at *4

(N.D. Ill. Jan. 11, 2011).

       Further, “[a] lead plaintiff meets the adequacy requirement if (1) its claims are not

antagonistic or in conflict with those of the class; (2) it has sufficient interest in the outcome of

the case to ensure vigorous advocacy; and (3) it is represented by competent, experienced

counsel who be able to prosecute the litigation vigorously.”          Sterling Heights, 2012 WL

1339678, at *9; see also In re Groupon, Inc. Sec. Litig., No. 12 C 2450, 2012 WL 3779311, at *3

(N.D. Ill. Aug. 28, 2012). LJM Fund Investor Group meets all of these requirements. Neither

the interests of LJM Fund Investor Group nor its individual members are antagonistic to the

other members of the putative class or to each other. LJM Fund Investor Group has also

demonstrated that it is an adequate representative in this matter by retaining competent and

experienced counsel, Scott+Scott and Freed Kanner London & Millen LLC (“Freed Kanner”).


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See ECF Nos. 76-11 and 76-12. Finally, LJM Fund Investment Group submitted evidence

demonstrating its cohesion and commitment to effectively representing the interests of the Class,

which is additional evidence of its adequacy and typicality. See ECF No. 76-10; see also

Sterling Heights, 2012 WL 1339678, at *8 (appointing an investor group that submitted a similar

declaration that “established that they intend to work together cooperatively and cohesively in

this litigation”).

                                        CONCLUSION

        For all of the foregoing reasons, and those set forth in its opening motion papers, LJM

Fund Investor Group respectfully requests that the Court appoint LJM Fund Investor Group as

Lead Plaintiff and approve LJM Fund Investor Group’s selection of Scott+Scott as Lead Counsel

and Freed Kanner as Liaison Counsel.

DATED: April 24, 2018                               SCOTT+SCOTT
                                                    ATTORNEYS AT LAW LLP

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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 24, 2018, I caused the foregoing to be electronically filed

with the Clerk of the Court using the CM/ECF system, which will send notification of such filing

to the email addresses denoted on the Electronic Mail Notice List.

                                                     /s/ Thomas L. Laughlin, IV
                                                    Thomas L. Laughlin, IV (pro hac vice)




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